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 8                              UNITED STATES DISTRICT COURT
 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA                     JS-6

10                                       WESTERN DIVISION
11
      UNITED STATES OF AMERICA,                       No. CV 15-08173-ODW (PLAx)
12
                   PLAINTIFF,
13                                                    CONSENT JUDGMENT OF
                          V.
14                                                    FORFEITURE
   ONE 2014 ROLLS ROYCE WRAITH
15 AND THREE WATCHES,
16                 DEFENDANTS.
17 ARTHUR STEPANYAN,
   SYUZANNA STEPANYAN,
18 & ZHANNA HOVHANNIYSAN,
19                 CLAIMANTS.
20
21           Plaintiff and claimants Arthur Stepanyan, Syuzanna Stepanyan, and Zhanna
22     Hovhanniysan (“Claimants”) have made a stipulated request for the entry of this Consent
23     Judgment, resolving this action in its entirety.
24           The Court, having considered the stipulation of the parties, and good cause
25     appearing therefor, HEREBY ORDERS ADJUDGES AND DECREES:
26           1.     The government has given and published notice of this action as required by
27     law, including Rule G of the Supplemental Rules for Admiralty or Maritime Claims and
28     Asset Forfeiture Actions, Federal Rules of Civil Procedure, and the Local Rules of this
     Case 2:15-cv-08173-ODW-PLA Document 52 Filed 01/11/21 Page 2 of 3 Page ID #:148




 1     Court. Claimants have filed claims to the Defendants One 2014 Rolls Royce Wraith and
 2     Three Watches (the “Defendant Assets”) and have answered the complaint. No other
 3     statements of interest or answers have been filed, and the time for filing such statements
 4     of interest and answers has expired. This Court has jurisdiction over the parties to this
 5     judgment and the Defendant Assets. Any potential claimants to the Defendant Assets
 6     other than Claimants are deemed to have admitted the allegations of the complaint with
 7     respect to the Defendant Assets.
 8           2.     The Defendant Assets shall be returned to Claimants subject to the
 9     following conditions:
10                  a.     In lieu of the forfeiture of the defendant One 2014 Rolls Royce
11     Wraith, Claimants shall provide to the United States a cashier’s check in the amount of
12     $130,000.00, in a manner determined by the Government, made payable to the United
13     States Secret Service (“USSS”), which sum shall be forfeited to the United States, and
14     no other right, title, or interest shall exist therein. Once the cashier’s check for
15     $130,000.00 has been remitted to the Government and confirmed to have been received,
16     Claimants shall contact USSS SA Jacob Tweten (213) 533-4593 to coordinate the return
17     of the Defendant Assets.
18           3.     Claimants have agreed to release the United States of America, its agencies,
19     agents, and officers, including employees and agents of the USSS, from any and all
20     claims, actions or liabilities arising out of or related to this action, including, without
21     limitation, any claim for attorneys’ fees, costs or interest which may be asserted on
22     behalf of Claimants against the United States, whether pursuant to 28 U.S.C. § 2465 or
23     otherwise. Claimants have also waived any rights they may have to seek remission or
24     mitigation of the forfeiture. Nothing in this Consent Judgment is intended as, nor should
25     anything in this Consent Judgment be interpreted as an admission by Claimants of any
26     liability or wrongdoing.
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 1           5. The court finds that there was reasonable cause for the institution of these
 2     proceedings pursuant to 28 U.S.C. § 2465. This judgment constitutes a certificate of
 3     reasonable cause pursuant to 28 U.S.C. § 2465.
 4
 5           IT IS SO ORDERED.
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 7     Dated: January 11      , 2021
                                                    THE HONORABLE OTIS D. WRIGHT II
 8
                                                    UNITED STATES DISTRICT JUDGE
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